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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 18-60839-CIV-ALTONAGA/Seltzer

  CERTAIN UNDERWRITERS AT LLOYD’S,
  LONDON, SYNDICATES 2623/623,

          Plaintiff,
  v.

  SOLUTIONS RECOVERY CENTER,
  LLC, et al.,

        Defendants.
  ________________________________________/


                                             ORDER

          THIS CAUSE came before the Court on a sua sponte review of the record. On June 13,

  2018, Defendant, Plaintiff, Certain Underwriters at Lloyd’s, London, Syndicates 2623/623, filed

  a Motion to Dismiss Defendants’ Counterclaim [ECF No. 28]. Under Local Rule 7.1(c), “each

  party opposing a motion shall serve an opposing memorandum of law no later than (14) days

  after service of the motion. Failure to do so may be deemed sufficient cause for granting the

  motion by default.” S.D. Fla. L.R. 7.1(c). To date, Defendants have not filed an opposing

  memorandum of law, nor have they sought an extension of time to do so.

          Accordingly, it is ORDERED AND ADJUDGED that Plaintiff’s Motion to Dismiss

  Defendants’ Counterclaim [ECF No. 28] is GRANTED by default.

          DONE AND ORDERED in Miami, Florida, this 2nd day of July, 2018.



                                                      _________________________________
                                                      CECILIA M. ALTONAGA
                                                      UNITED STATES DISTRICT JUDGE

  cc: counsel of record
